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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             September 07, 2022
                           SOUTHERN DISTRICT OF TEXAS                                   Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

MARIE LILLY, INDIVIDUALLY, and                   §
as Representative of the Estate of EDNA          §
SPELLS,                                          §
                                                 §
v.                                               §
                                                 §   CIVIL ACTION NO. 4:20-cv-03478
SSC HOUSTON SOUTHWEST                            §
OPERATING COMPANY, LLC d/b/a                     §   JUDGE GEORGE C. HANKS
WESTCHASE HEALTH AND                             §
REHABILITATION CENTER; AND                       §
TEXAS HOLDCO, LLC                                §



                      ORDER GRANTING STIPULATION ON DISMISSAL


       On September 11, 2020, Plaintiff commenced this action in the 234th Judicial District

Court of the State of Texas for the County of Harris entitled Marie Lilly Individually and as a

Representative of the Estate of Edna Spells v. SSC Houston Southwest Operating Company, LLC

d/b/a Westchase Health and Rehabilitation Center; and Texas HoldCo, LLC, Cause No. 2020-

55655. On October 9, 2020, Defendants removed this case to Federal Court. Plaintiff filed a

Notice of Dismissal as to Texas HoldCo, LLC on November 19, 2020.

       Pursuant to Fed. R. Civ. P. 41, Plaintiff files this stipulation of Nonsuit against Defendant

SSC Houston Southwest Operating Company, LLC d/b/a Westchase Health and Rehabilitation

Center, WITH prejudice to re-filing same. All parties have agreed the costs of the court are taxed

against the party incurring the same.


                                                 Respectfully Submitted,

                                                 /s/ Jacob Runyon
                                                 THE CLINESMITH FIRM


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                                           ATTORNEYS FOR PLAINTIFFS



/s/ Lori Proctor (Signed with permission)
Lori Proctor
Jon Hlavinka
Counsel for Defendant Southwest Operating Company, LLC
d/b/a Westchase Health and Rehabilitation Center




       IT IS SO ORDERED on this 7th day of September, 2022.




                                                 ____________
                                                           ____________________
                                                                             _ ___
                                                 __________________________________
                                                      GEORGE C C. HANKS
                                                                  HANKS, JR
                                                                         JR.
                                                 UNITED STATES DISTRICT JUDGE




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